
727 S.E.2d 285 (2012)
STATE of North Carolina
v.
William Latham REYNOLDS.
No. 81P12.
Supreme Court of North Carolina.
June 13, 2012.
John T. Hall, for Reynolds, William Latham.
Newton G. Pritchett, Jr., Assistant Attorney General, for State of North Carolina.
Kimberly N. Callahan, Assistant Attorney General, for State of North Carolina.
Rick Shaffer, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by State of NC on the 27th of February 2012 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 13th of June 2012."
Upon consideration of the petition filed on the 27th of February 2012 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 13th of June 2012."
